  Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 1 of 37 PageID #:4408



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

   RICHARD ROGERS, individually and on         )
   behalf of similarly situated individuals,   )
                                               )
          Plaintiff,                           )        No. 2019-cv-03083
                                               )
                           v.                  )        Hon. Matthew F. Kennelly
                                               )
   BNSF Railway Company, a Delaware            )
   corporation,                                )
                                               )
          Defendant.                           )


     PLAINTIFF’S UNOPPOSED MOTION & MEMORANDUM IN SUPPORT OF
         PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT




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      Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 2 of 37 PageID #:4409




                                                     TABLE OF CONTENTS

Table of Authorities ....................................................................................................................... iii

I.         INTRODUCTION ..............................................................................................................1

II.        THE LITIGATION ..............................................................................................................2

           A. The Illinois Biometric Information Privacy Act (“BIPA”)............................................2

           B. The Litigation and Procedural History. .........................................................................3

                1. Plaintiff Rogers’s Allegations and Proceedings in the Federal Case .......................3

                2. Plaintiffs’ Allegations and Proceedings in the State Case .......................................6

                3. The Parties’ Settlement Negotiations.......................................................................7

III.       THE PROPOSED SETTLEMENT .....................................................................................8

           A. The Settlement Class......................................................................................................8

           B. Monetary Relief .............................................................................................................8

           C. Notice and Settlement Administration. ..........................................................................9

           D. Exclusion and Objection Procedure. ............................................................................11

           E. Release of Liability. .....................................................................................................11

           F. Attorneys’ Fees and Service Awards ...........................................................................11

IV.        ARGUMENT .....................................................................................................................12

           A. The Settlement Warrants Preliminary Approval..........................................................12

           B. The Court will Likely Find that the Proposed Settlement is Fair, Reasonable, and
              Adequate ......................................................................................................................13

                1. The Settlement was Reached only after extensive Motion Practice, Discovery, and
                   Arm’s-Length Negotiation. ....................................................................................13

                2. The Relief Provided by the Settlement is Adequate in Light of the Risks of
                   Continued Litigation and will be Distributed Equally to all Settlement Class
                   Members in an Efficient Manner. ..........................................................................15

           C. The Court will Likely Find that the Proposed Settlement Class meets all

                                                                       i
     Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 3 of 37 PageID #:4410




                Requirements for Certification for Purposes of Settlement Under Fed. R. Civ. P. 23(a)
                and 23(b)(3). ................................................................................................................19

                1. The Proposed Settlement Class Meets all Prerequisites to Certification Under Fed.
                   R. Civ. P. 23(a) ......................................................................................................20

                   i.      The Proposed Settlement Class is Ascertainable Based on Objective Criteria
                           ..........................................................................................................................20

                  ii.      Numerosity.......................................................................................................20

                 iii.      Commonality....................................................................................................21

                  iv.      Typicality .........................................................................................................22

                   v.      Adequacy .........................................................................................................23

                2. The Proposed Settlement Class is Certifiable Under Fed. R. Civ. P. 23(b)(3) ......24

                   i.      Common Questions Predominate Within the Settlement Class .......................25

                  ii.      A Class Action is the Most Efficient way of Adjudicating the Putative
                           Settlement Class Members’ Claims and is Superior to the Alternative of Either
                           a Multitude of Individual Lawsuits or no Individual Lawsuits at all ...............25

                 iii.      The Proposed Form and Method of Notice Through the State Court Satisfies
                           Due Process and the Requirements of Fed. R. Civ. P. 23 ................................26

                  iv.      Plaintiffs’ Counsel Should be Appointed Class Counsel .................................28

                3. The Court Should Preliminarily Modify the Certified Class Under Fed. R. Civ. P.
                   23(c)(1)(C) to be Consistent with the Settlement Class. .......................................28

V.        FINAL APPROVAL HEARING.......................................................................................29

VI.       CONCLUSION ..................................................................................................................29

Certificate of Service .....................................................................................................................31




                                                                         ii
   Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 4 of 37 PageID #:4411




                                               TABLE OF AUTHORITIES


Case                                                                                                                            Page(s)

Amchem Prods. Inc. v. Windsor,
  521 U.S. 591 (1997) ...........................................................................................................23, 25

Armstrong v. Board of Sch. Dirs. of City of Milwaukee,
   616 F.2d 305 (7th Cir. 1980) ...................................................................................................12

Barragan v. Evanger’s Dog & Cat Food Co.,
   259 F.R.D. 330, 334 (N.D. Ill. 2009) .......................................................................................21

Bedford v. Lifespace Communities, Inc.,
   No. 20-cv-04574 (N.D. Ill. May 12, 2021) ..............................................................................10

Boone, et al. v. Snap, Inc.,
   No. 2022LA000708 (Cir. Ct. DuPage Cnty. Nov. 22, 2022) ..................................................19

Bryant v. Compass Group USA, Inc.,
   958 F.3d 617 (7th Cir. 2020) ...............................................................................................4, 15

Cothron v. White Castle Systems, Inc.
   2023 IL 128004 (Feb. 17, 2023) ..........................................................................................5, 14

Davis, et al., v. Heartland Employment Services, LLC,
   No. 19-cv-00680, Dkt. 130 (N.D. Ill. Oct. 25, 2021) ..............................................................19

Felzen v. Andreas,
   134 F.3d 873 (7th Cir. 1998) ...................................................................................................12

Figueroa v. Kronos Incorporated,
   No. 19-cv-01306 (N.D. Ill. Dec. 20, 2022) ..............................................................................19

Hinman v. M and M Rental Cen., Inc.,
   545 F. Supp. 2d 802 (N.D. Ill. 2008) .................................................................................21, 26

Howard v. Cook Cnty. Sheriff's Off.,
   F.3d 587, 605 (7th Cir. 2021) ........................................................................................................ 22

In re AT&T Mobility Wireless Data Services Sales Litig.,
    270 F.R.D. 330 (N.D. Ill. 2010) .........................................................................................12, 27

In re Bridgestone/Firestone, Inc.,
    288 F.3d 1012, 1015 (7th Cir. 2002). ......................................................................................26

In re TikTok, Inc., Consumer Priv. Litig.,
    565 F. Supp. 3d 1076 (N.D. Ill. 2021) ...............................................................................12, 18

                                                                    iii
   Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 5 of 37 PageID #:4412




Isby v. Bayh,
    75 F.3d 1191 (7th Cir. 1996) ............................................................................................. 12-13

Jones v. CBC Rest. Corp.,
   No. 19-cv-06736 (N.D. Ill. Nov. 11, 2020) .............................................................................10

Keele v. Wexler,
   149 F.3d 589 (7th Cir. 1998) ............................................................................................. 21-22

Kusinski v. ADP, LLC,
   No. 2017-CH-12364 (Cir. Ct. Cook Cnty. Feb. 10, 2021) ......................................................19

Mitchem v. Illinois Collection Serv., Inc.,
   271 F.R.D. 617 (N.D. Ill. 2011) ...............................................................................................20

Mullins v. Direct Digital, LLC,
   795 F.3d 654 (7th Cir. 2015) ...................................................................................................20

Quarles v. Pret A Manger (USA) Limited,
   No. 20-cv-07179, (N.D. Ill. May 4, 2022) ...............................................................................18

Radamanovich v. Combined Ins. Co. of Am.,
   16 F.R.D. 424 (N.D. Ill. 2003). ................................................................................................25

Retired Chicago Police Ass’n v. City of Chicago,
    7 F.3d 584 (7th Cir. 1993) .......................................................................................................22

Rivera, et al. v. Google
   No. 2019-CH-00990 (Cir. Ct. Cook Cnty. Sept. 8, 2022) ................................................. 18-19

Roach v. Walmart, Inc.,
   No. 2019-CH-01107 (Cir. Ct. Cook Cnty., Ill. 2020) ..............................................................19

Rosario v. Livaditis,
   963 F.2d 1013 (7th Cir. 1992) .................................................................................................21

Schulte v. Fifth Third Bank,
   805 F. Supp.2d 560 (N.D. Ill. 2011) ....................................................................................... 16

Synfuel Techs., Inc. v. DHL Express (USA), Inc.,
   463 F.3d 646 (7th Cir. 2006) ...................................................................................................15

Thome v. NovaTime Tech., Inc.,
   No. 19-cv-06256 (March 8, 2021 N.D. Ill.) .............................................................................19

Wal-Mart Stores, Inc. v. Dukes,
   564 U.S. 338, 350 (2011) .........................................................................................................21

Wordlaw v. Enterprise Leasing Co. of Chicago, et al.


                                                                  iv
   Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 6 of 37 PageID #:4413




     No. 20-cv-03200 (N. D. Ill. Feb. 2, 2023) ...............................................................................10

Statutes

735 ILCS 5/2-801 ..........................................................................................................................29

740 ILCS 14/ et seq................................................................................................................ passim

FED. R. CIV. P. 16 .............................................................................................................................7

FED. R. CIV. P. 23 .................................................................................................................. passim

28 U.S.C. § 1292(b) .........................................................................................................................5

28 U.S.C. § 1332 ..............................................................................................................................4

28 U.S.C. § 1441 ..............................................................................................................................4

28 U.S.C. § 1446 ..............................................................................................................................4

28 U.S.C § 1715 ....................................................................................................................... 27-28

Other Authorities

Conte & Newberg, 4 Newberg on Class Actions, §11.25 (4th Ed. 2002) ......................................12

7A Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure (2d ed. 1987) .........20




                                                                       v
     Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 7 of 37 PageID #:4414




I.       INTRODUCTION

         The Settlement Agreement before the Court, if approved, will resolve the most advanced

claims ever prosecuted under the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et

seq. (“BIPA”). The Settlement would resolve the above-captioned class action (the “Federal

Case”), as well as the related putative class action pending in the Circuit Court of Cook County,

Illinois before the Honorable Pamela M. Meyerson, Rogers et al. v. BNSF Railway Co., No. 2019-

CH-04393 (the “State Case) (the “Federal Case” and the State Case are collectively referred to as

the “Litigation”.) 1

         The Litigation was brought on behalf of individuals who allege that they had their

biometrics captured by Defendant BNSF Railroad Company (“Defendant” or “BNSF”) through

their Auto-Gate Systems in Illinois. This case represents the first BIPA case, of thousands, to be

adversarially certified and go to trial. The State Case, which consists of claims that were severed

and remanded from this case, is also procedurally advanced, including fully briefed motions for

class certification and for judgment on the pleadings.

         Rather than continue to litigate and face numerous additional questions of first impression

and lengthy appeal processes in both this Court and in state court, including a new trial in this case

on the question of damages, the Parties have reached a proposed Settlement which, if approved,

would resolve all claims at issue in the Litigation and provide outstanding benefits to the

Settlement Class. Through the proposed Settlement, Defendant will establish a non-reversionary

Settlement Fund in the amount of $75,000,000.00 from which approximately 46,500 Settlement

Class Members will be compensated on an equal basis via direct checks without having to submit

claims. (Ex. 1 § IV.) If approved, the Settlement will bring certainty, closure and valuable cash


1
 Unless otherwise defined, capitalized terms used herein have the same meaning given to them as in the
Parties’ Settlement Agreement, a copy of which is attached hereto as Exhibit 1.


                                                  1
     Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 8 of 37 PageID #:4415




compensation to what has been contentious and costly litigation regarding BNSF’s alleged

collection of individuals’ fingerprints at its Illinois facilities.

          While Plaintiff believes he would be able to succeed on the merits and on appeal, success

is not assured, particularly given the continued uncertainty in the law surrounding BIPA, numerous

legislative efforts to limit BIPA’s strength and scope, and the fact that Defendant has vigorously

defended both the State Case and the Federal Case. The terms of the Settlement, which include a

Settlement Fund providing significant cash compensation to the Settlement Class Members, meet

and exceed the applicable standards of fairness. Preliminary approval is thus in the best interests

of the Settlement Class Members and is consistent with Fed. R. Civ. P. 23 and due process.

Accordingly, the Court should preliminarily approve the Settlement.

          By this unopposed Motion, Plaintiff Richard Rogers (“Plaintiff”), seeks, inter alia,

preliminary approval of the Settlement Agreement, appointment of the undersigned attorneys as

Class Counsel, appointment of Richard Rogers and Michael Stewart as Class Representatives,

preliminary certification of the Settlement Class for settlement purposes, and approval of the

proposed form and methods of Notice, including issuance of notice and administration of the

Settlement through the State Case, and preliminary modification of the certified class consistent

with the Settlement Class.

II.       THE LITIGATION

          A.       The Illinois Biometric Information Privacy Act (“BIPA”)

          BIPA requires private entities which seek to use biometric identifiers (e.g., fingerprints or

facial geometry) and biometric information (any information gathered from a biometric identifier

which is used to identify an individual) 2 to:



2
    “Biometric identifiers” and “biometric information” are collectively referred to herein as “biometrics.”


                                                       2
  Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 9 of 37 PageID #:4416




        (1)    inform the person whose biometrics are to be collected in writing that biometrics
               will be collected or stored;

        (2)    inform the person whose biometrics are to be collected in writing of the specific
               purpose and the length of term for which such biometrics are being collected, stored
               and used;

        (3)    receive a written release from the person whose biometrics are to be collected
               allowing the capture and collection of their biometrics; and

       (4)     publish a publicly available retention schedule and guidelines for permanently
               destroying biometrics.

740 ILCS 14/15. BIPA was enacted to protect the privacy rights of individuals, to provide them

with a means of enforcing their rights, and to regulate the practice of collecting, using and

disseminating biometrics. 740 ILCS 14/5(c).

       B.      The Litigation and Procedural History

               1.      Plaintiff Rogers’s Allegations and Proceedings in the Federal Case

       On April 4, 2019, Plaintiff Richard Rogers filed a class action lawsuit against Defendant,

alleging numerous violations of BIPA in the Circuit Court of Cook County, Illinois, where it was

assigned to the Honorable Pamela McLean Meyerson. Plaintiff Rogers, a truck driver, alleged that

BNSF utilized biometrically-enabled devices to verify his identity and the identities of other

similarly-situated truck drivers, when they entered BNSF’s Illinois facilities. Plaintiff alleged that

these identity verification devices were components in the automated gate systems (“Auto-Gate

System”) at BNSF facilities in Illinois and relied on Settlement Class Member’s fingerprints and

biometric information derived therefrom. Plaintiff alleged that the use of such devices in Illinois

was subject to regulation by BIPA and that Defendant failed to obtain written consent from him

and the Settlement Class Members to collect or otherwise obtain their biometrics. (Dkt. 1-1 ¶¶ 18-

21.) Plaintiff Rogers further alleged that Defendant failed to comply with BIPA by not publishing

a publicly available retention schedule and guidelines for permanently destroying biometrics. (Id.)


                                                  3
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 10 of 37 PageID #:4417




       On May 7, 2019, Defendant timely removed the Litigation to this Court, pursuant to 28

U.S.C. §§ 1332, 1441, and 1446. (Dkt. 1.) The Federal Case was assigned to Your Honor and

captioned Rogers v. BNSF Railway Co., No. 19-cv-03083. Defendant filed a Motion to Dismiss,

which was fully briefed. (Dkts. 19-20). On October 31, 2019, the Court issued a Memorandum

Opinion and Order denying Defendant’s Motion to Dismiss. (Dkt. 31.) The Parties then began an

extended period of protracted discovery which ultimately included several rounds of written

discovery; production and review of tens of thousands of documents; eight party and third-party

depositions; significant third-party written discovery; and expert discovery including production

of expert reports from both Parties and depositions of each Party’s expert.

       Following expert discovery, Plaintiff Rogers moved to remand his claim made under

Section 15(a) of BIPA to the Circuit Court of Cook County, Illinois on the basis that the District

Court lacked subject matter jurisdiction pursuant to the Seventh Circuit’s decision in Bryant v.

Compass Group USA, Inc., 958 F.3d 617 (7th Cir. 2020). (Dkt. 85.) After full briefing, Plaintiff’s

Motion to Remand was granted, and his claims under Section 15(a) of BIPA were severed and

remanded to the Circuit Court of Cook County, Illinois. (Dkts. 97, 100.) In the Federal Case, the

Parties briefed Plaintiff’s Motion for Class Certification and Defendant’s Motion for Summary

Judgment. On March 15, 2022, the Court issued an Order denying Defendant’s Motion for

Summary Judgment. (Dkt. 142.) On March 22, 2022, the Court issued an Order granting Plaintiff’s

Motion for Class Certification and appointing Myles McGuire, Evan Meyers, David Gerbie, and

Brendan Duffner of McGuire Law as Class Counsel. (Dkt. 143.)

       On April 5, 2022, Defendant filed a Petition for Permission to Appeal the Court’s Order

granting class certification under Fed. R. Civ. P. 23(f). On April 11, 2022, Defendant’s petition

was summarily denied by a panel of the Seventh Circuit Court of Appeals. (Dkt. 145.) On April




                                                4
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 11 of 37 PageID #:4418




26, 2022, Defendant filed a combined Motion for Certification of Interlocutory Appeal Under 28

U.S.C. § 1292(b). (Dkt. 147.) On June 21, 2022, the Court denied Defendant’s Motion for

Certification of Interlocutory Appeal Under 28 U.S.C. § 1292(b). (Dkt. 158.) Subsequently, the

firm Loevy & Loevy was engaged to bring the Certified Class’s claims through trial.

       On August 25, 2022, the Parties filed their pretrial motions, including Omnibus Motions

in Limine from both Parties and Defendant filing a Motion to Strike Undisclosed Witnesses, a

Motion to Strike Plaintiff’s Expert from Offering Undisclosed Expert Opinions at Trial, and a

Motion to Stay Proceedings. (Dkts. 173-176, 178.) The Parties also filed their Final Pretrial Order.

(Dkt. 177.) On September 1, 2022, the Parties responded to each of the foregoing pretrial motions.

(Dkts. 180-185), and on September 6, 2022, the Court held a final pretrial conference. Starting on

October 4, 2022, the Parties conducted a five-day jury trial presided over by the Court. On October

12, 2022, the jury returned a verdict, finding that Defendant had recklessly violated Section 15(b)

of BIPA 45,600 times. (Dkt. 223.) The Court directed the Clerk to enter judgment in favor of the

plaintiff class in the amount of $228,000,000 based on application of the statutory damages

provision contained within BIPA. (Dkts. 223-225.)

       On November 9, 2022, the Parties filed their post-trial motions. (Dkts. 235-236.) Defendant

filed a Renewed Motion for Judgment as a Matter of Law and Motion for a New Trial or to Alter

or Amend Judgment. Plaintiff Rogers filed a Rule 59 Motion to Amend Judgment. Those post-

trial motions were fully briefed (Dkts. 245, 247, 250, 252), and the Court heard oral argument on

the motions on June 2, 2023. On June 30, 2023, the Court granted Defendant’s post-trial motion

in part, relying on the then-recently issued Illinois Supreme Court opinion in Cothron v. White

Castle Systems 2023 IL 128004 (Feb. 17, 2023) vacating the damages award and ordering a new

trial to determine the damages to be awarded. (Dkt. 260.) The Court also denied Plaintiff Rogers’s




                                                 5
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 12 of 37 PageID #:4419




post-trial motions. (Id.) On July 7, 2023, the Court set the damages retrial to begin on October 2,

2023. Prior to conducting the retrial, and as developed in further detail below, the instant

Settlement was reached.

               2.     Plaintiffs’ Allegations and Proceedings in the State Case

       Subsequent to the remand of Plaintiff Rogers’s Section 15(a) claims, Plaintiff Rogers was

granted leave to file the operative Second Amended Complaint in State Court. Plaintiff did so on

October 20, 2021, adding Michael Stewart as a named plaintiff. Plaintiffs Rogers and Stewart are

hereinafter referred to as “Plaintiffs.” Defendant filed its Answer on December 6, 2021. On May

20, 2022, Judge Meyerson entered an Agreed Protective Order which operated to consider all

materials produced in the Federal Case to have been produced in the State Case as well. The Parties

then began conducting additional discovery tailored to Plaintiffs’ Section 15(a) claims and to

obtain updated information concerning the size of the putative class.

       Discovery in the State Case was also extensive and resulted in the Parties conducting

numerous additional depositions, including those of Plaintiff Stewart, Defendant’s employees, and

four additional depositions of Defendant’s service provider Remprex, LLC and its employees. The

Parties also engaged in additional written discovery and exchanged deficiency correspondence

related thereto. On July 18, 2022, Plaintiffs filed a Motion to Compel Production of Data in

Discovery that was fully briefed and that was ultimately granted on September 19, 2022. On March

28, 2023, Plaintiffs filed a Motion for Class Certification. In response, Defendant filed a Motion

to Stay briefing on Plaintiffs’ Motion for Class Certification pending further discovery.

Defendant’s Motion was ultimately denied, and Plaintiffs’ Motion for Class Certification was fully

briefed, but not ruled upon. On June 12, 2023, Defendant filed a Motion for Judgment on the

Pleadings, seeking dismissal of the State Case with prejudice. That Motion was fully briefed but




                                                6
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 13 of 37 PageID #:4420




not ruled upon. Prior to oral argument and Judge Meyerson’s rulings on the Motion for Class

Certification and the Motion for Judgment on the Pleadings, the instant Settlement was reached.

Judge Meyerson has stayed argument and ruling on these motions pending approval of the

Settlement.

               3.      The Parties’ Settlement Negotiations

       Over the course of the extensive litigation outlined above, the Parties have mediated a total

of seven times with the assistance of three separate experienced neutrals. On March 11, 2020,

when the Parties were in the early stages of discovery, the Parties mediated with Judge James

Holderman (Ret.) of JAMS Chicago, former Chief Judge of the U.S. District Court for the Northern

District of Illinois. This mediation was unsuccessful. A year later, on April 7, 2021, the Parties

participated in a second private mediation, this time overseen by the Honorable James Epstein

(Ret.) of JAMS Chicago, a former Justice of the Illinois Appellate Court and Judge in the Chancery

Division of the Circuit Court of Cook County. On June 6, 2022, the Parties participated in a third

arm’s-length mediation, again overseen by Judge Epstein.

       The Parties also engaged in four separate Fed. R. Civ. P. 16 settlement conferences with

Your Honor. On September 29, 2022, the Court held a pretrial settlement conference. The Parties

did not reach agreement to resolve the Litigation. Following the jury verdict, on November 29,

2022, the Court held a post-trial settlement conference where the Parties were again unable to

resolve the Litigation. On December 23, 2022, the Court held a second post-trial settlement

conference, which was again unsuccessful. (Dkt. 240.) On September 8, 2023, just prior to the

retrial scheduled for October 2, 2023, the Court held a fourth court-mediated settlement conference

in this matter, which ultimately led to this settlement. (Dkt. 271.)

       Following the Parties’ formal settlement efforts, and over the following months, counsel




                                                  7
  Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 14 of 37 PageID #:4421




for Plaintiffs and for Defendant continued to expend significant further efforts and resources

negotiating specific terms of the Settlement, including, among other things: the scope of the

release; the form and content of the Notice; settlement administration procedures; and the process

and deadlines for objections, exclusions, and other submissions to the Court. Eventually, these

extensive negotiations culminated in the Settlement Agreement and the attendant exhibits for

which Plaintiff now seeks preliminary approval.

       The Settlement represents the Parties’ agreement to resolve all matters pertaining to, arising

from, or associated with the Litigation – for both the Federal Case and the State Case – including

all claims the Releasing Parties have or may have had against the Released Parties in the context

of the biometric functions of the Auto-Gate System at BNSF’s facilities in Illinois. The Parties

have agreed to settle the Litigation on the terms and conditions set forth in the Settlement

Agreement in recognition that the outcome of litigation is inherently uncertain and that achieving

a final result through litigation would require substantial additional risk, time and expense.

III.   THE PROPOSED SETTLEMENT

       A.       The Settlement Class

       The proposed Settlement will establish a Settlement Class defined as follows:

                “All individuals whose fingerprint information was registered using an
                Auto-Gate System at one of BNSF’s four Illinois facilities at any time
                between April 4, 2014 and the date of the Preliminary Approval Order.”
(Ex. 1 ¶ 58.)

       B.       Monetary Relief

       The proposed Settlement will establish a fully paid out, non-reversionary Settlement Fund

of $75,000,000.00 (seventy-five million dollars). (Id. ¶¶ 87, 92.) The Settlement Class consists of

approximately 46,500 individuals. (Id. ¶ 58.) The entire amount of the Settlement Fund will be

distributed directly to Settlement Class Members on a pro rata basis after deductions for the costs



                                                 8
  Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 15 of 37 PageID #:4422




of notice and administration, a Fee Award, and Service Awards to the Class Representatives, with

no need for Settlement Class Members to submit a claim in order to receive payment. (Id. ¶¶ 101-

106.) As discussed below, after deductions for the costs of notice and administration, a Fee Award,

and Service Awards to the Class Representatives, Plaintiff anticipates that each Settlement Class

Member will receive approximately $1,000. Moreover, any uncashed check amounts from the

Settlement Fund following the first distribution of payments to the Settlement Class Members will

be redistributed on an equal, pro rata basis to Settlement Class Members who cashed their initial

check. (Id. ¶¶ 104-106.) Importantly, Defendant also represents that it no longer uses the

technology at issue in the Litigation at its Illinois facilities. (Id. ¶ 52.)

        C.      Notice and Settlement Administration

        The notice plan set forth in the Settlement Agreement will be administered through the

State Court. Plaintiffs will ask the State Court to approve as administrator Epiq Class Actions &

Claims Solutions (“Epiq”), an industry-leading administrator of class action settlements. (Id. ¶ 86.)

Epiq previously distributed direct notice in this case to members of the certified class after class

certification. (Dkts. 155-156.) Following entry of a Preliminary Approval Order in the State Case,

direct notice, substantially in the form of Exhibit A to the Settlement Agreement, will be sent

directly to Settlement Class Members via U.S. Mail where the parties have a last-known mailing

address or where the address can be determined by the Settlement Administrator. (Id. ¶¶ 75, 91.)

The Class Notice has been carefully drafted in straightforward, easy-to-read language to clearly

inform Settlement Class Members of all material aspects of the Settlement, such as the relief they

are entitled to under the Settlement, the amount of the Fee Award and Service Awards that may

be sought, instructions and deadlines for opting out of or objecting to the Settlement, and the scope

of the release, including the fact that the Settlement releases all claims pending in the Federal Case

and the State Case. (Id. at Ex. A; Ex. 1 ¶ 88.) The Notice being provided directly to Class Members

                                                     9
    Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 16 of 37 PageID #:4423




is a full detailed Notice, and not merely a postcard notice.

        In addition to the robust direct notice being provided, the Settlement Class Members can

learn    about    the    Litigation    and    the    Settlement     on    the    Settlement     Website,

www.BNSFBIPAClassAction.com, which was established following class certification. (Dkts.

155-156.) The Settlement Website will identify all relevant deadlines and include downloadable

case documents, including the operative Complaint, Settlement Agreement, and the Class Notice.

Other important case documents, including Plaintiffs’ forthcoming submissions regarding a Fee

Award in the State Case and regarding final approval in the State and Federal Cases, will also be

made available on the Settlement Website for consideration by the Settlement Class Members.

        If the Settlement is granted final approval, monetary relief will be automatically provided

via check to the Settlement Class Members who do not exclude themselves from the Settlement.

(Id. ¶¶ 100-103.) Settlement Class Members will not have to submit a claim form or otherwise

“opt-in” to the Settlement Class. Any uncashed check amounts from the Settlement Fund following

the first distribution of payments to the Settlement Class Members will be redistributed on an

equal, pro rata basis to Settlement Class Members who cashed their initial check. (Id. ¶¶ 104-106.)

Any uncashed amounts after the second distribution shall be distributed to a cy pres recipient(s)

selected by the Parties and approved by the Court. (Id.) No portion of the Settlement Fund will

revert to or be returned to Defendant. This direct individual Notice and method of monetary

distribution to the Settlement Class Members without a claims process is consistent with or better

than what courts have regularly approved in other BIPA settlements. 3




3
 See, e.g., Jones v. CBC Rest. Corp., 19-cv-06736, Dkt. 53 (N.D. Ill. Nov. 11, 2020); Bedford v. Lifespace
Communities, Inc., No. 20-cv-04574, Dkt. 31 (N.D. Ill. May 12, 2021); Wordlaw v. Enterprise Leasing Co.
of Chicago, et al. No. 20-cv-03200 (N. D. Ill. Feb. 2, 2023).


                                                    10
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 17 of 37 PageID #:4424




       D.      Exclusion and Objection Procedure

       Settlement Class Members will have an opportunity to exclude themselves from the

Settlement or object to its approval. The procedures and deadlines for filing exclusion requests and

objections will be identified in the Class Notice directly sent to Settlement Class Members and

will also be made available on the Settlement Website. (Id. ¶ 117-121.) The Class Notice informs

Settlement Class Members that the Final Approval Hearing will be their opportunity to appear

and have their objections heard. (Id.) The Class Notice also informs Settlement Class Members

that they will be bound by the Release contained in the Settlement Agreement unless they exercise

their right to exclusion in a timely manner. (Id. at Ex. A.)

       E.      Release of Liability

       In exchange for the relief described above, the Settlement Class Members who do not

exclude themselves will provide the Released Parties a full release of all Released Claims,

including BIPA claims, arising from or relating to the subject matter of the Litigation and all claims

that were brought or could have been brought in the Litigation, including the State Case and the

Federal Case, by Plaintiffs and/or the Settlement Class Members. (Id. § VI.)

       F.      Attorneys’ Fees and Service Awards

       Subject to approval, attorneys’ fees are to be paid out of the Settlement Fund. (Id., ¶¶ 84-

88.) Under the Settlement Agreement, Class Counsel have agreed, with no consideration from

Defendant, to limit their request for attorneys’ fees to no more than 35% of the Settlement Fund,

plus their reasonable litigation costs and expenses. (Id., ¶ 84.) The Class Representatives also

intend to move for Service Awards, subject to approval, of up to $15,000 each for their numerous

contributions to the Litigation, which include, among other things, participating in written

discovery, sitting for depositions, attending and testifying at trial, and being involved in the

settlement process. (Id., ¶ 86.)

                                                 11
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 18 of 37 PageID #:4425




IV.    ARGUMENT

       A.      The Settlement Warrants Preliminary Approval.

       As revised, Fed. R. Civ. P. 23 directs the Court at this stage to only determine whether it

“will be likely” to grant final approval of the proposed Settlement as “fair, reasonable, and

adequate,” pursuant to Fed. R. Civ. P. 23(e)(2), and certifiable “for purposes of judgment on the

proposal,” pursuant to Fed. R. Civ. P. 23(e)(1)(B)(ii). The edits to Rule 23 mirror the well-

established two-step process in this Circuit of performing a “preliminary” evaluation of the fairness

of the settlement to determine whether notice is to be sent out, prior to the final fairness inquiry.

Conte & Newberg, 4 Newberg on Class Actions, § 11.25, at 38–39 (4th Ed. 2002); Armstrong v.

Board of Sch. Dirs. of City of Milwaukee, 616 F.2d 305, 314 (7th Cir. 1980), overruled on other

grounds by Felzen v. Andreas, 134 F.3d 873 (7th Cir. 1998); In re AT&T Mobility Wireless Data

Servs. Sales Litig., 270 F.R.D. 330, 346 (N.D. Ill. 2010). Accordingly, the preliminary approval

evaluation is not a final fairness hearing. Rather, it is an evaluation to determine whether there is

reason to notify the class members of the proposed settlement and to proceed with a final fairness

hearing. Newberg, § 11.25, at 38-39; Armstrong, 616 F.2d at 314.

       Because the essence of every settlement is compromise, courts should not reject a

settlement solely because it does not provide a complete victory, given that parties to a settlement

“benefit by immediately resolving the litigation and receiving some measure of vindication for

[their] position[s] while foregoing the opportunity to achieve an unmitigated victory.” In re AT&T,

270 F.R.D. at 347 (internal quotations and citations omitted). There is a strong judicial and public

policy favoring the settlement of class action litigation, and such a settlement should be approved

by the Court after inquiry into whether the settlement is “fair, reasonable, and adequate.” In re

TikTok, Inc., Consumer Priv. Litig., 565 F. Supp. 3d 1076, 1083 (N.D. Ill. 2021); Isby v. Bayh, 75




                                                 12
  Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 19 of 37 PageID #:4426




F.3d 1191, 1198 (7th Cir. 1996).

       B.      The Court will Likely Find that the Proposed Settlement is Fair, Reasonable,
               and Adequate.

       As the amendments to Rule 23 direct, in determining whether to preliminarily approve a

settlement, the Court must first evaluate where it is “likely” to finally determine that the settlement

is fair, reasonable, and adequate. Under Rule 23(e)(2), the factors in determining whether a

settlement is fair, reasonable, and adequate include: (1) whether the class representative and class

counsel have adequately represented the class; (2) whether the settlement was negotiated at arm’s

length; (3) the relief provided to the class versus the cost and risk of proceeding to trial, the method

by which relief will be distributed to the class, and the proposed attorneys’ fees award; and (4)

whether the Settlement treats all Class members equally to one another. Fed. R. Civ. P. 23(e)(2).

Application of these factors to this case demonstrates that the proposed Settlement is fair,

reasonable, and adequate.

               1.      The Settlement was Reached only after Extensive Motion Practice,
                       Discovery, and Arm’s-Length Negotiation.

       The first two factors under the amended Rule 23(e)(2) address “procedural concerns” and

are intended to “look[] to the conduct of the litigation and of the negotiations leading up to the

proposed settlement.” Fed. R. Civ. P. 23(e)(2)(A) & (B) advisory committee’s note. In determining

whether these factors are satisfied, the Court may consider “the nature and amount of discovery in

this or other cases, or the actual outcomes of other cases, [which] may indicate whether counsel

negotiating on behalf of the class had an adequate information base.” Fed. R. Civ. P. 23(e)(2)(A)

& (B) advisory committee’s note.

       As the Court is aware, the Parties litigated this case heavily and underwent substantial

discovery and motion practice. But to fully analyze this particular Settlement, it is important to




                                                  13
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 20 of 37 PageID #:4427




also consider the bifurcation of Plaintiffs’ and the Settlement Class Members’ claims between state

and federal court. The Federal Case was successfully litigated through trial, resulting in the first-

ever judgment to be entered in a BIPA case—for $228 million. (Dkt. 223.) However, pursuant to

the Parties’ post-trial motions, the Court vacated the monetary award on June 30, 2023. (Dkt. 260.)

Accordingly, had Plaintiff continued to pursue his 15(b) claims through a retrial and any

subsequent post-trial motions and appellate proceedings, he would have had to again prove the

most important issue to monetary recovery again: damages. To that end, in light of the Illinois

Supreme Court’s ruling in Cothron and the Parties’ pre-retrial motions (Dkts. 272-273), Plaintiff

faced numerous additional questions of first impression. Similarly, the State Case, though less

procedurally advanced than the Federal Case, has been heavily litigated and would otherwise be

on a similar path to trial. The Parties had fully briefed Plaintiffs’ Motion for Class Certification

and Defendant’s Motion for Judgment on the Pleadings, and those motions were set for oral

argument. Moreover, just prior to reaching the instant Settlement, Plaintiffs were preparing to file

a motion for summary judgment in short order, having sought and obtained leave to file such

documents under seal. Accordingly, Plaintiffs and Class Counsel had sufficient information about

the facts of the Litigation to fairly weigh their prospects of ultimate success on the merits versus

the negotiated outcome provided by the Settlement such that the Court is likely to find that they

adequately represented the Class.

       Indeed, it was not until the eve of the second trial in the Federal Case that the Parties were

able to resolve the Litigation. As discussed above, the instant Settlement was reached following a

combined seven mediations and settlement conferences in this case, which occurred with the

assistance of three separate experienced neutrals. Your Honor’s September 8, 2023 settlement

conference ultimately formed the basis of this Settlement. Over the following months, counsel for




                                                 14
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 21 of 37 PageID #:4428




the Parties continued to expend significant further efforts negotiating numerous specific, material

terms of the Settlement. That such an extensive and formal process was overseen by Your Honor

– and only after a full trial on the merits – underscores the non-collusive nature of the proposed

Settlement. See Fed. R. Civ. P. 23(e)(2)(A) & (B) advisory committee’s note (“[T]he involvement

of a neutral or court-affiliated mediator or facilitator in those negotiations may bear on whether

they were conducted in a manner that would protect and further the class interests.”)

               2.      The Relief Provided by the Settlement is Adequate in Light of the Risks of
                       Continued Litigation and will be Distributed Equally to all Settlement Class
                       Members in an Efficient Manner.

       The Court is also likely to find that the proposed Settlement satisfies Rule 23’s requirement

of providing adequate relief when weighed against the prospects of continued litigation. Fed. R.

Civ. P. 23(e)(2)(C)(i). As the Seventh Circuit has found, this is the most important consideration

in determining whether a Settlement should be approved. Synfuel Techs, Inc. v. DHL Express

(USA), Inc., 463 F.3d 646, 653 (7th Cir. 2006). The Settlement provides significant monetary

benefits to the Settlement Class, as every Settlement Class Member will receive an equal payment

from a Settlement Fund totaling $75,000,000 after deductions for settlement administration

expenses and the court-approved attorneys’ fees and Service Awards. Settlement Class Members

can expect to receive at least $1,000 from the Settlement Fund – an excellent result for Settlement

Class Members.

       This substantial relief, when weighed against the risk of continued litigation, makes the

Settlement particularly strong. Importantly, due to the bifurcation of this Litigation, Plaintiffs were

pursuing very similar claims in two separate courts. This inefficiency, borne of the Seventh

Circuit’s decision in Bryant v. Compass Group USA, Inc., 958 F.3d 617 (7th Cir. 2020), resulted

in expensive and complex litigation. (Dkt. 85.) Significant high stakes motion practice, trials, and




                                                  15
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 22 of 37 PageID #:4429




appeals loomed in both cases absent settlement. In the Federal Case, the Parties were preparing for

a retrial and were preparing responses to motions in limine and jury instructions concerning the

contours of a possible damages verdict. In the State Case, the Parties had briefed class certification

and Defendant had moved for judgment on the pleadings. Plaintiffs were also preparing to brief

summary judgment and intended to pursue another trial in the State Case.

       Moreover, and as was demonstrated in the Federal Case, given the complexity of the issues,

the numerous issues of first impression, the size of the putative class, and the amount in

controversy, appellate litigation was highly likely with respect to any decision on the merits (at

summary judgment and/or trial). Indeed, even if Plaintiffs had been victorious in both the State

Case and the Federal Case, Defendant raised multiple preemption defenses and preserved those

defenses for purposes of appeal. (Dkts. 19-20, 235.) The Parties’ retrial on the question of damages

itself was also sure to result in rulings on numerous additional questions of first impression

considering the unprecedented nature of the first damages award, its undoing through Defendant’s

post-trial motion victory, and the subsequent rulings by this Court on motions in limine concerning

a putative jury’s “discretion” with respect to crafting a damages award. These questions, along

with the additional defenses present in Defendant’s Answer and Affirmative Defenses, if

successful, could have resulted in Plaintiffs and the proposed Settlement Class Members receiving

no compensation whatsoever, or at least materially less, were a jury instructed it could award

damages along a complete sliding scale “up to” $5,000 as Defendant had argued. Accordingly, any

success during re-trial in the Federal Case or summary judgment in the State Case would not be

set in stone and would be subject to substantial appellate risk. See Schulte v. Fifth Third Bank, 805

F. Supp. 2d 560, 582 (N.D. Ill. 2011). “Settlement allows the class to avoid the inherent risk,

complexity, time, and cost associated with continued litigation.” Id. at 586. “If the Court approves




                                                 16
    Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 23 of 37 PageID #:4430




the [Settlement], the present lawsuit will come to an end and [Settlement Class Members] will

realize both immediate and future benefits as a result.” Id. Taking the available remaining defenses

into account, and recognizing the risks involved in any litigation, the quality relief afforded to each

Settlement Class Member represents a truly excellent result for the Settlement Class. Approval of

the Settlement will allow Plaintiffs and the Settlement Class Members to receive meaningful and

significant payments now, instead of years from now—or perhaps never. Id. at 582.

        Another consideration affecting the long-term viability of Plaintiffs’ claims is the uncertain

future of BIPA itself, as multiple bills designed to blunt BIPA’s protections and limit the

availability of monetary damages have been introduced in the Illinois Legislature. 4 If the Illinois

Legislature were to amend, reduce, or limit BIPA, Plaintiff and the Settlement Class Members

could see their claims diminished or even completely evaporate.

        The relief provided to Settlement Class Members will also be distributed in an effective

and efficient manner that treats all Settlement Class Members equally in accordance with Fed. R.

Civ. P. 23(e)(2)(C)(iii) and (D). As set forth in § III(C), supra, the Settlement Agreement

contemplates direct class Notice designed to reach as many potential Settlement Class Members

as possible. This is made possible by nature of the class data here, which was captured along with

the alleged biometric information and includes Settlement Class Members’ names and addresses.

Under the Settlement Agreement, the Settlement Administrator will send direct notice, primarily

in the form of Exhibit A to the Settlement Agreement, via U.S. mail to all Settlement Class

Members for which the Settlement Administrator is able to identify a mailing address. (Ex. 1 ¶

76.) This direct notice process should be very effective at reaching the Settlement Class Members

given the nature of the class data. Because each Settlement Class Member will be sent an equal


4
 See Illinois S.B., 3053 (2018); 2134 (2019); 3593 (2020); 3591 (2020) and H.B. 5103 (2018); 5374 (2020);
2979 (2023/2024).


                                                   17
    Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 24 of 37 PageID #:4431




share of the Settlement Fund in exchange for an identical release, the proposed Settlement “treats

class members equitably relative to each other.” Fed. R. Civ. P. 23(2)(D).

        Lastly, the remaining factors to be considered under Rule 23(e)(2)(C) are also all satisfied

here. Plaintiff’s Counsel’s anticipated attorneys’ fees request – no more than 35% of the Settlement

Fund plus reasonable costs and expenses – falls within the range of attorneys’ fees awarded in

other similar settlements and will likely be found reasonable in light of the recovery achieved for

the Settlement Class Members and the efforts undertaken by Plaintiff’s Counsel in pursuing these

claims on behalf of the Settlement Class. Fed. R. Civ. P. 23(e)(2)(C)(iii); In re TikTok, 617

F.Supp.3d at 940 (applying percentage-of-the-fund method in $92 million BIPA settlement); see

also Quarles v. Pret A Manger (USA) Limited, No. 20-cv-07179, Dkt. 53 (N.D. Ill. May 4, 2022)

(Shah, J.) (approving class counsel fee request for 36% of the settlement fund in BIPA class

settlement; Rivera, et al. v. Google 2019-CH-00990 (Cir. Ct. Cook Cnty. Sept. 8, 2022) (35% of

the settlement fund in a $100 million BIPA class settlement). To the extent that any Settlement

Class Members believe that the attorneys’ fees requested are not appropriate, they will have the

opportunity to object to the Settlement and to raise their concerns at the Final Approval Hearing. 5

        In sum, the lengthy duration of the Litigation; the extensive and often contentious

investigation and discovery process; the excellent result for the Settlement Class in spite of the

significant substantive and procedural hurdles faced by the Settlement Class Members; and the

participation of an experienced intermediary during the negotiation process are all testament to the

fairness of the proposed Settlement. Illinois state and federal courts have approved class action

settlements involving violations of BIPA providing similar or less than the gross payment per Class

Member here. See, e.g., Davis, et al., v. Heartland Employment Services, LLC, No. 19-cv-00680,


5
 Pursuant to Fed. R. Civ. P. 23(e)(2)(C)(iv), there are no agreements made in connection with the
Settlement other than the terms contained in the Settlement Agreement.


                                                18
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 25 of 37 PageID #:4432




Dkt. 130 (N.D. Ill. Oct. 25, 2021) (Valderrama, J.) ($5.4 million fund for 11,048 class members

for a gross recovery of $490.40 per class member); Roach v. Walmart, Inc., No. 2019-CH-01107

(Cir. Ct. Cook Cnty., Ill. 2020) ($10 million fund for 21,677 class members for a gross recovery

of $461.32 per class member); Thome v. NovaTime Tech., Inc., No. 19-cv-06256 (March 8, 2021

N.D. Ill.) ($4.1 million fund for approximately 62,000 class members, for a $66.12 gross recovery);

Figueroa v. Kronos Incorporated, No. 19-cv-01306, Dkt. 380 (N.D. Ill. Dec. 20, 2022) ($15.2

million fund for approximately 171,643 class members, for a $88.55 gross recovery); Kusinski v.

ADP, LLC., No. 2017-CH-12364 (Cir. Ct. Cook Cnty. Feb. 10, 2021) ($25 million fund for

approximately 320,000 class members, for a $78.12 gross recovery); Boone, et al. v. Snap, Inc.

No. 2022LA000708 (Cir. Ct. DuPage Cnty. Nov. 22, 2022) ($35 million fund for 3.8 million class

members, for a $9.21 gross recovery); Rivera, et al. v. Google No. 2019-CH-00990 (Cir. Ct. Cook

Cnty. Sept. 28, 2022) ($100 million fund for 5.8 million class members, for a $17.24 gross

recovery).

       Moreover, the total amount of all checks that remain uncashed following the First

Distribution of settlement awards will be re-distributed amongst the Settlement Class Members

who cashed their initial check rather than being returned to Defendant. (Ex. 1 ¶ 108.)

       Accordingly, the Settlement is likely to be found as fair, reasonable, and adequate, and

warrants the Court’s preliminary approval.

       C.      The Court will Likely Find that the Proposed Settlement Class Meets all
               Requirements for Certification for Purposes of Settlement Under Fed. R. Civ.
               P. 23(a) and 23(b)(3).

       The proposed Settlement is not only likely to be found fair, reasonable, and adequate, but

the proposed Settlement Class is also likely to be finally certified by the Court at the final approval

hearing. As explained below, the Settlement Class meets all the criteria for certification under Rule




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 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 26 of 37 PageID #:4433




23(a) and 23(b)(3).

               1.       The Proposed Settlement Class Meets all Prerequisites to Certification
                        Under Fed. R. Civ. P. 23(a).

                       i.      The Proposed Settlement Class is Ascertainable Based on Objective
                               Criteria.

       Although not explicitly required under Rule 23(a), some courts require that a proposed

class be ascertainable. A class is ascertainable if “its members can be ascertained by reference to

objective criteria[.]” Mitchem v. Illinois Collection Serv., Inc., 271 F.R.D. 617, 619 (N.D. Ill. 2011)

(internal citations omitted); 7A Charles Alan Wright & Arthur R. Miller, Federal Practice &

Procedure § 1760, at 121 (2d ed. 1987) (noting that the class must be defined in a way that is

administratively feasible for a court to determine whether a particular individual is a member).

       Here, membership in the proposed Settlement Class is easily determined based on objective

criteria and records that the Parties have access to – including names and addresses – and, as a

result, the proposed Settlement Class is ascertainable. See Mullins v. Direct Digital, LLC, 795 F.3d

654, 661 (7th Cir. 2015), cert. denied, No. 15-549, 2016 WL 763259 (U.S. Feb. 29, 2016) (noting

that ascertainability focuses on the “adequacy of the class definition itself” and not on the

“difficulty [in] identify[ing] particular members of the class”). Indeed, direct notice was sent to

the vast majority of Settlement Class Members in connection with adversarial class certification

in the Federal Case. (Dkts. 155-156.)

                      ii.      Numerosity

       The numerosity requirement of Rule 23(a)(1) is met where “the class is so numerous that

joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). “Although there is no bright-

line test for numerosity, a class of forty is generally sufficient to satisfy Rule 23(a).” Hinman v. M

& M Rental Ctr., Inc., 545 F. Supp. 2d 802, 805-806 (N.D. Ill. 2008).




                                                  20
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 27 of 37 PageID #:4434




       Here, the proposed Settlement Class encompasses approximately 46,500 individuals. (Ex.

1 ¶ 58.) The only difference between the Settlement Class and the Certified Class is one of temporal

scope. Where the class period for the Certified Class ended on January 25, 2020 (Dkt. 143 at 1),

the Settlement Class runs through preliminary approval, capturing an additional ~2 months of truck

driver registrations, which reflects the fact that the Illinois’ Auto-Gate System’s biometric

capabilities were shut off in March 2020. (Trial Tr., 606:5-8; 1192: 8-11.) In finding adversarial

class certification appropriate, the Court found this requirement satisfied. (Dkt. 143 at 4.) It is

satisfied for purposes of settlement as well.

                    iii.       Commonality

       The second prerequisite of Rule 23(a) requires that “there are questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). The commonality requirement is met where the

putative class members share a “common contention” that is “capable of classwide resolution—

which means that determination of its truth or falsity will resolve an issue that is central to the

validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

350 (2011). Commonality is often present where defendants have “engaged in standardized

conduct toward members of the proposed class.” Keele v. Wexler, 149 F.3d 589, 594 (7th Cir.

1998); Hinman, 545 F. Supp. 2d at 806. “Commonality requires that there be at least one question

of law or fact common to the class.” Barragan v. Evanger’s Dog & Cat Food Co., 259 F.R.D. 330,

334 (N.D. Ill. 2009) (quoting Rosario v. Livaditis, 963 F.2d 1013, 1018 (7th Cir. 1992)).

       In this case, all members of the proposed Settlement Class share common statutory BIPA

claims arising out of what Plaintiff claims to be standardized conduct: the alleged collection and

storage of Settlement Class Members’ biometrics without sufficient consent at Defendant’s Illinois

facilities through Defendant’s use of Auto-Gate Systems. These claims require the resolution of




                                                21
  Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 28 of 37 PageID #:4435




the same central factual and legal issues, including: (1) whether the information obtained from

Settlement Class Members constituted biometric identifiers or biometric information as defined

by BIPA; (2) whether such information was obtained without valid written consent required under

BIPA; (3) whether Defendant had a BIPA-compliant publicly-available written policy addressing

retention and storage of biometrics; and (4) whether such conduct violated BIPA.

        Here, the number and significance of the common questions are sufficient to meet the

commonality requirement for purposes of settlement. Indeed, in finding adversarial class

certification appropriate, the Court found this requirement satisfied. (Dkt. 143 at 4-5.) It is satisfied

for purposes of settlement as well.

                     iv.        Typicality

        Rule 23(a) requires the class representative’s claims to be typical of those of the potential

class members. Fed. R. Civ. P. 23(a)(3). “As a general matter, ‘[a] plaintiff’s claim is typical if it

arises from the same event or practice or course of conduct that gives rise to the claims of other

class members and his or her claims are based on the same legal theory.’” Howard v. Cook Cnty.

Sheriff's Off., 989 F.3d 587, 605 (7th Cir. 2021) (quoting Keele v. Wexler, 149 F.3d 589, 595 (7th

Cir. 1998)) (alteration in original). The typicality requirement asks whether the class

representative’s claims “have the same essential characteristics as the claims of the class at large.”

Retired Chicago Police Ass’n v. City of Chicago, 7 F.3d 584, 596-97 (7th Cir. 1993).

        Here, Plaintiff and the Settlement Class Members all allege they were required to register

their biometrics using an Auto-Gate System at Defendant’s facilities in Illinois. Further, Plaintiff

and the putative Settlement Class Members have all alleged the same injury: a violation of their

BIPA rights through Defendant’s use of the Auto-Gate System to obtain their biometrics. Because

the Settlement Class Members assert identical claims based on the same legal theory, the same




                                                   22
  Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 29 of 37 PageID #:4436




facts, and the same course of conduct by Defendant, and they seek redress for the same injury,

Plaintiffs’ claims are thus typical of the Settlement Class they seek to represent for purposes of

settlement. In finding adversarial class certification appropriate, the Court found that “Rogers’s

claim is virtually identical to the claims of the proposed class members, as it arises from a uniform

course of conduct.” (Dkt. 143 at 5.) The same is true for purposes of settlement as well, and the

same is true for Plaintiff Stewart, who testified at trial to this effect. (Trial Tr. at 630:10-639:5.)

                      v.        Adequacy

        The final subsection of Rule 23(a) requires that the class representatives “fairly and

adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This inquiry “serves to

uncover conflicts of interest between named parties and the class they seek to represent.” Amchem

Prod., Inc. v. Windsor, 521 U.S. 591, 625 (1997). To demonstrate adequacy, class representatives

must show that: (1) their claims are not antagonistic or in conflict with those of the proposed class,

(2) they have sufficient interest in the outcome of the case, and (3) they are represented by

experienced and competent counsel. Hinman, 545 F. Supp. 2d at 807.

        Here, Plaintiffs’ interests are entirely representative of and consistent with the interests of

the proposed Settlement Class: all have allegedly had their biometrics taken and used by Defendant

in a manner inconsistent with the legal protections provided by BIPA. Plaintiffs sought out legal

representation after coming to believe their rights had been violated, and their pursuit of the

Litigation has demonstrated that they have been, and will remain, zealous advocates for the

Settlement Class. Plaintiffs have sacrificed their time, energy, and privacy on behalf of the Class

by agreeing to publicly serve as the named plaintiffs here and in the State Case. Notably, Plaintiffs

both testified during trial in the Federal Case and are both currently named plaintiffs in the State

Case. Thus, Plaintiffs have the same interests as the Settlement Class, and have at all times acted




                                                   23
    Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 30 of 37 PageID #:4437




as zealous advocates of the Settlement Class Members’ interests. In finding adversarial class

certification appropriate, the Court found that Plaintiff Rogers was an adequate class

representative. (Dkt. 143 at 6.) Now, for purposes of Settlement, the Court should appoint Plaintiff

Rogers and Mr. Michael Stewart to represent the Settlement Class Members.

        Similarly, proposed Class Counsel have regularly engaged in major complex litigation and

have extensive experience in class action lawsuits relating to privacy and emerging technologies,

including numerous BIPA class actions. Plaintiffs’ counsel and their firms have been appointed as

class counsel in many complex class actions in the Northern District of Illinois, the Circuit Court

of Cook County, and in courts throughout the country, including in numerous BIPA cases. 6

Plaintiffs’ Counsel will continue to adequately represent the Settlement Class through settlement.

In finding adversarial class certification appropriate, and prior to the retention of Loevy & Loevy

as trial counsel, the Court found that McGuire Law had demonstrated its adequacy. (Dkt. 143 at

6.) Now, and for purposes of settlement, the Court should find that the undersigned attorneys from

McGuire Law and Loevy & Loevy have adequately represented the Settlement Class Members

and that there is every reason to find that they will continue to do so.

               2.       The Proposed Settlement Class is Certifiable under Fed. R. Civ. P. 23(b)(3).

        A class is certifiable under Rule 23(b)(3) where “questions of law or fact common to class

members predominate over any questions affecting only individual members, and a class action is

superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.

R. Civ. P. 23(b)(3).

                       i.      Common Questions Predominate Within the Settlement Class.

        The predominance inquiry focuses on whether a proposed class is sufficiently cohesive to


6
 See Declarations of proposed Class Counsel Evan M. Meyers and Jon Loevy, attached hereto as Exhibits
2 and 3, respectively.


                                                 24
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 31 of 37 PageID #:4438




warrant adjudication by representation. Amchem, 521 U.S. at 623. To satisfy the predominance

requirement of Rule 23(b)(3), “each class member must share common questions of law or fact

with the rest of the class, therefore making class-wide adjudication of the common questions

efficient compared to the repetitive individual litigation of the same question.” Lemon v. Int’l

Union of Operating Eng’s., 216 F.3d 577, 581 (7th Cir. 2000). While the common issues must

predominate, they need not be exclusive. Radamanovich v. Combined Ins. Co. of Am., 216 F.R.D.

424, 435 (N.D. Ill. 2003).

       Here, for purposes of settlement, the common questions resulting from Defendant’s alleged

conduct predominate over any individual issues that may exist and can be answered on a class-

wide basis based on common evidence maintained by Defendant. Chiefly, the common evidence

for settlement purposes is a database of alleged biometric and other information identifying the

Settlement Class Members that was obtained at Defendant’s facilities in Illinois. Accordingly, this

factor is satisfied. As such, the elements of any given Settlement Class Member’s claim will be

based on the same classwide proof applicable to other Settlement Class Members within the same

class. Notably, in finding adversarial class certification appropriate, the Court found this

requirement satisfied as well. (Dkt. 143 at 7.) It is satisfied for purposes of settlement as well.

                     ii.       A Class Action is the Most Efficient way of Adjudicating the Putative
                               Settlement Class Members’ Claims and is Superior to the
                               Alternative of Either a Multitude of Individual Lawsuits or no
                               Individual Lawsuits at all.

       A class action is vastly superior to any other method available to fairly and efficiently

adjudicate the Settlement Class Members’ claims for purposes of settlement. Rule 23(b)(3) lists

four factors that the Court should consider in taking into account whether a class action is superior

to other methods of adjudicating this action: (a) the class members’ interests in individually

controlling the prosecution or defense of separate actions; (b) the extent and nature of any litigation


                                                  25
  Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 32 of 37 PageID #:4439




concerning the controversy already commenced by or against class members; (c) the desirability

or undesirability of concentrating the litigation of the claims in the particular forum; and (d) the

likely difficulties in managing a class action. Fed. R. Civ. P. 23 (b)(3)(A)-(D). To determine

whether a class action is a superior method, courts often look to whether it is an “efficient use of

both judicial and party resources.” Hinman, 545 F. Supp. 2d at 807. The superiority requirement

is generally satisfied where class members have uniform claims governed by the same law. In re

Bridgestone/Firestone, Inc., 288 F.3d 1012, 1015 (7th Cir. 2002).

        This case is particularly well-suited for class treatment for settlement because the claims

of Plaintiffs and the proposed Settlement Class Members involve the same alleged violations of

BIPA for the same alleged failure to maintain a BIPA compliant retention and destruction schedule

and the same alleged unauthorized collection, use and storage of Settlement Class Members’

biometrics. Absent a class action, most members of the Settlement Class would find the cost of

litigating their claims to be prohibitive. It is thus unlikely that individuals would invest the time

and expense necessary to seek relief through individual litigation. Here, the Court can resolve the

claims of tens of thousands of identically situated individuals in one stroke, substantially serving

economies of both time and expense. Accordingly, a class action remains the superior method of

adjudicating this action for purposes of settlement and the proposed Settlement Class should be

certified. (Dkt. 143 at 7-8.)

                     iii.       The Proposed Form and Method of Notice Through the State Court
                                Satisfies Due Process and the Requirements of Fed. R. Civ. P. 23.

        When a class is certified through settlement, Due Process and Rule 23 require that the court

“direct notice in a reasonable manner to all class members who would be bound by the proposal.”

Fed. R. Civ. P. 23(e)(1). Where, as here, a class is certified pursuant to Rule 23(b)(3), “the court

must direct to class members the best notice that is practicable under the circumstances, including


                                                 26
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 33 of 37 PageID #:4440




individual notice to all members who can be identified through reasonable effort.” Fed. R. Civ. P.

23(c)(2)(B). The notice must contain information in plain, easily understood language, including

the nature of the action, the class definition(s), the claims, and the rights of class members. Fed.

R. Civ. P. 23(c)(2)(B)(i)–(vii); see In re AT&T, 270 F.R.D. at 352.

       As discussed above, the Parties have agreed to an effective manner and method of

distributing Class Notice through administration in the State Court that more than satisfies the

requirements of Due Process and Rule 23. Under the notice plan, the Settlement Administrator

will send direct notice of the Settlement via U.S. Mail to the Settlement Class Members. (Ex. 1 ¶

116.) Before sending Notice, the Settlement Administrator will run the Class Members’ addresses

through the U.S. Postal Service’s National Change of Address database and mail the Notice using

the most current mailing address information. (Id.) For any Class Member whose Notice is

returned as undeliverable without a forwarding address, the Settlement Administrator will

promptly conduct additional searches of available databases. (Id.) Additionally, the Settlement

Administrator will continue to update and maintain the Settlement Website, which will contain

links to the relevant court documents, the Notice, information outlining how Settlement Class

Members can update their mailing address or other contact information, and a list of answers to

frequently asked questions. (Id., ¶ 89.) In accordance with Rule 23(e)(4), the Class Notice will

inform Settlement Class Members of their right to object or exclude themselves from the

Settlement and the process and deadlines for doing so. (Id., § VIII-X.)

       Finally, pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715, and no later than ten

days from the date of this filing, Defendant will send required notice to the appropriate government

entities. 28 U.S.C § 1715(b). Because the proposed notice plan effectuates direct notice to the vast

majority of Class Members and fully apprises class members of their rights, it comports with the




                                                27
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 34 of 37 PageID #:4441




requirements of Due Process and Rule 23 and should be approved.

                     iv.       Plaintiffs’ Counsel Should be Appointed Class Counsel.

       Under Rule 23, “a court that certifies a class must appoint class counsel . . . [who] must

fairly and adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B). As described

in detail above, proposed Class Counsel have devoted significant time and resources to this

litigation and have committed extensive efforts to negotiating and executing this Settlement.

Proposed Class Counsel have extensive experience with similar class action litigation, including

scores of BIPA cases. See Exs. 2-3. Accordingly, the Court should appoint the undersigned

Plaintiffs’ Counsel to serve as Class Counsel for the Settlement Class pursuant to Rule 23(g).

               3.      The Court Should Preliminarily Modify the Certified Class Under Fed. R.
                       Civ. P. 23(c)(1)(C) to be Consistent with the Settlement Class.

       On March 22, 2022, this Court issued a Memorandum Opinion and Order granting Plaintiff

Rogers’s Motion for Class Certification. The certified class included: “all individuals whose

fingerprint information was registered using an Auto-Gate System at one of BNSF's four Illinois

facilities at any time between April 4, 2014 and January 25, 2020.” (Dkt. 143 at 1). The Settlement

Class runs through preliminary approval, capturing an additional ~2 months of truck driver

registrations, which reflects the fact that the Auto-Gate System’s biometric capabilities were shut

off in March 2020. Consistent with the class definition in the Settlement Agreement and in

consideration of factual developments, the Parties jointly request that the Court preliminarily

modify the definition of the certified class to include: “All individuals whose fingerprint

information was registered using an Auto-Gate System at any of BNSF’s four Illinois facilities at

any time from April 4, 2014 through the date of the Preliminary Approval Order.” See Fed. R.

Civ. P. 23(c)(1)(C) (“An order that grants or denies class certification may be altered or amended

before final judgment.”)


                                                 28
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 35 of 37 PageID #:4442




V.     FINAL APPROVAL HEARING

       The State Court will hold a Final Approval Hearing, at which the Honorable Pamela

McLean Meyerson and Honorable Matthew F. Kennelly shall participate. At the Final Approval

Hearing, Class Counsel shall request that the State Court grant final approval of the Settlement,

and also enter a Final Approval Order that (i) grants final certification, for settlement purposes, of

the Settlement Class pursuant to 735 ILCS 5/2 801, (ii) approves the Settlement as a fair,

reasonable, adequate and binding release of all claims by the Qualified Class Members, (iii)

approves the Settlement as a fair, reasonable, adequate, and binding General Release of all claims

by the Class Representatives, (iv) dismisses the State Case with prejudice; (v) grants Plaintiffs’

Counsel’s forthcoming request for attorneys’ fees, expenses, and service awards; and (vi) retains

jurisdiction solely for purposes of enforcing the Parties’ obligations under the Settlement. In

addition, Class Counsel shall request that the Federal Court enter an order approving the Settlement

under Rule 23 of the Federal Rules of Civil procedure and dismissing the Federal Case with

prejudice.

VI.    CONCLUSION

       For the foregoing reasons, Plaintiff Richard Rogers respectfully requests that the Court

enter an Order: (1) appointing Richard Rogers and Michael Stewart as the Settlement Class

Representatives; (2) appointing Myles McGuire, Evan M. Meyers, David L. Gerbie and Brendan

Duffner of McGuire Law, P.C. and Jon Loevy and Michael Kanovitz of Loevy and Loevy as Class

Counsel; (3) preliminarily approving the proposed Settlement Agreement; (4) certifying the

Settlement Class for purposes of effectuating the Settlement; (5) approving the form and

administration of the proposed Class Notice through the State Case; (6) preliminarily modifying

the certified class consistent with the Settlement Class; and (7) granting such further relief as the




                                                 29
    Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 36 of 37 PageID #:4443




Court deems reasonable and just. 7

Dated: February 26, 2024                            Respectfully submitted,

                                                    RICHARD ROGERS, individually and on behalf
                                                    of a class of similarly situated individuals
                                                    By: /s/ David L. Gerbie
                                                         One of Plaintiff’s Attorneys
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Proposed Class Counsel




7
    A proposed preliminary approval Order will be provided to the Court.


                                                     30
 Case: 1:19-cv-03083 Document #: 295 Filed: 02/26/24 Page 37 of 37 PageID #:4444




                                  CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on February 26, 2024, a copy of Plaintiff’s

Unopposed Motion & Memorandum in Support of Preliminary Approval of Class Action

Settlement was filed electronically with the Clerk of Court, to be served on all counsel of record.



                                                       /s/David L. Gerbie




                                                  31
